Counsel for defendants moves the Industrial Commission for attorney fees in this matter. Upon counsel for defendants' motion and for good cause shown, IT IS ORDERED that counsel for defendants' motion for attorneys fees is HEREBY GRANTED. Counsel for plaintiff is personally hereby ordered to pay the amount of five hundred dollars ($500.00) for attorneys fees to counsel for defendants.
FOR THE FULL COMMISSION
                                  S/ __________________ DIANNE C. SELLERS COMMISSIONER
CONCURRING:
S/ __________________ THOMAS J. BOLCH COMMISSIONER
S/ __________________ COY M. VANCE COMMISSIONER